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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

 WOLFRAM ARNOLD, et al.,

                        Plaintiffs,
                                            C.A. No. 1:23-cv-528-JLH-CJB
                v.

 X CORP. f/k/a TWITTER, INC., et al.

                            Defendant.


 CORNET PLAINTIFFS’ MOTION TO PROVISIONALLY SEAL MOTION
   FOR LEAVE TO FILE AMICUS BRIEF IN OPPOSITION TO THE
  MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION AND
                 ACCOMPANYING EXHIBITS


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 Bradley Manewith (pro hac vice)                     Kate Butler Law LLC
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 Attorneys for Plaintiffs
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       Pursuant to this Court’s Manuals on filing, including Electronic Filing Tips

 for Attorneys and Electronic Filing of Sealed Civil Documents, Emmanuel Cornet,

 Justine De Caires, Lenn Kindel (f/k/a Grae Kindel), Alexis Camacho, Jessica Pan,

 Emily Kim, Miguel Andres Barreto, and Brett Menzies Folkins, on behalf of

 themselves and all other similarly situated (collectively “Cornet Plaintiffs”) hereby

 move to provisionally seal the following documents:

              1.    Cornet Plaintiffs’ Motion for Leave to File Amicus Brief in

       Opposition to the Magistrate Judge’s Report and Recommendation Under

       Seal (“Motion for Leave to File Amicus Brief”) (attached hereto as Exhibit

       1). Plaintiffs will publicly file this document with redactions.

              2.    Cornet Plaintiffs’ Proposed Amicus Brief in Opposition to the

       Magistrate Judge’s Report and Recommendation (“Proposed Amicus Brief”)

       (attached hereto as Exhibit 2). Cornet Plaintiffs will publicly file this

       document (which is Exhibit A to Cornet Plaintiffs’ Motion for Leave to File

       Amicus Brief) with redactions.

              3.    An Arbitration Award (attached hereto as Exhibit 3) obtained

       by Cornet Plaintiffs’ counsel against Twitter (“Arbitration Award”), which

       is Exhibit 1 to the Proposed Amicus Brief. Cornet Plaintiffs will publicly file

       a slip sheet in place of this document, as it will be sealed in its entirety.




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       The reason for Cornet Plaintiffs’ request for sealing is that Twitter takes the

 position that arbitration awards are confidential. The Motion for Leave to File

 Amicus Brief and Proposed Amicus Brief both describe the contents of the

 Arbitration Award.

       Additionally, if the Court is disinclined to permit the redactions and sealing

 that Cornet Plaintiffs have sought, Cornet Plaintiffs respectfully request the

 opportunity to submit revised versions with limited redactions removing

 information that would disclose the identity of the arbitral claimant.




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 Dated: December 19, 2024           Respectfully submitted,

                                    EMMANUEL CORNET, JUSTINE DE
                                    CAIRES, GRAE KINDEL, ALEXIS
                                    CAMACHO, JESSICA PAN, EMILY KIM,
                                    MIGUEL BARRETO, and BRETT
                                    MENZIES FOLKINS, on behalf of
                                    themselves and all others similarly situated,

                                    By their attorneys,

                                    /s/ Kate Butler
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                            CERTIFICATE OF SERVICE

         I, Kate Butler, hereby certify that a true and accurate copy of the redacted

 version of this document was served on all counsel of record in this matter via

 filing on the Court’s CM/ECF system and that Cornet Plaintiffs have served the

 sealed version of this document on Defendant’s counsel via email on December 19,

 2024.


                                          /s/ Kate Butler
                                          Kate Butler




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